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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 MONTE A. ROSE, JR., et al.,

        Plaintiffs,
               v.                                    Civil Action No. 19-2848 (JEB)
 XAVIER BECERRA, Secretary of Health
 and Human Services, et al.,

        Defendants.


                                        ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Plaintiffs’ Motion for Summary Judgment is GRANTED;

      2. Federal Defendants’ Cross-Motion for Summary Judgment is DENIED;

      3. Indiana’s Motion to Dismiss is DENIED;

      4. Judgment is ENTERED for Plaintiffs on Count I of the Supplemental Complaint; and

      5. The Secretary’s 2020 approval of the Healthy Indiana Plan 2.0 is VACATED and

          REMANDED to the agency.

                                                       /s/ James E. Boasberg
                                                       JAMES E. BOASBERG
                                                       Chief Judge
Date: June 27, 2024
